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 5
 6   ATTORNEY FOR DEFENDANT
     CARLOS LEE SANCHEZ
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 8
 9               IN THE UNITED STATES DISTRICT COURT FOR THE
10                      EASTERN DISTRICT OF CALIFORNIA
11
     UNITED STATES OF AMERICA,     )                CR.-S-04-205-GEB
12                                 )
          PLAINTIFF,               )                STIPULATION AND PROPOSED
13                                 )                ORDER TO CONTINUE STATUS OF
          v.                       )                ALLEGED VIOLATION TO
14                                 )                FRIDAY, JANUARY 28, 2011
     CARLOS LEE SANCHEZ,           )
15                                 )
          DEFENDANT.               )
16   _______________________________)
17         Plaintiff United States of America, by its counsel, Assistant United States
18   Attorney, Ms. Mary Grad and defendant, Mr. Carlos Lee Sanchez, Jr., by his attorney
19   Mr. James R. Greiner, hereby stipulate and agree that the status conference
20   calendared for Friday, October 8, 2010, at 9:00 a.m. before the Honorable United
21   States District Court Judge, Garland E. Burrell, Jr., may be continued to Friday,
22   January 28, 2011, at 9:00 a.m..
23         The Court’s courtroom deputy, Ms. Shani Furstenau, has been contacted to
24   ensure the Court’s calendar was available for that date and the Court is available on
25   Friday, January 28, 2011.
26         In addition, probation officer, Ms. Cynthia Mazzei, was contacted and
27   involved in the decision regarding the stipulation to ensure her consent to and
28                                              1
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 1    availability for that date, and she consented to the continuance and is available on that
 2    date.
 3            The defendant is out of custody under supervision, and consents to the
 4 continuance.
 5            The continuance is requested for several reasons: 1-the defense is doing on
 6 going investigation; 2- the defense is continuing to review the material in this matter
 7 and 3- the defendant has a State Court Trial on the very issues of the filed Petition in
 8 this Court and the result of the trial in State Court will be of assistance in helping to
 9 resolve this matter and by allowing the State Court trial to proceed first it will be a
10 cost savings to both the government and this Court. There is no speedy trial act
11 requirement for exclusion of time, however, the defendant does agree and consent to
12 this continuance after being informed by telephone conference of the case,
13 circumstances and his legal rights.
14
15                                     Respectfully submitted,
                                       BENJAMIN B. WAGNER
16                                     UNITED STATES ATTORNEY
17                                     /s/ Mary Grad by e mail authorization
     DATED: 10-6-10                    _____________________________________
18                                     Mary Grad
                                       ASSISTANT UNITED STATES ATTORNEY
19                                     ATTORNEY FOR THE PLAINTIFF
20
     DATED: 10-6-10                    /s/ James R. Greiner
21                                     _______________________________________
                                       James R. Greiner
22                                     Attorney for Defendant
                                       Carlos Sanchez
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28                                                2
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 2
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 4                                    ORDER
 5
 6      FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
 7
 8 Dated: October 7, 2010
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10                                  GARLAND E. BURRELL, JR.
11                                  United States District Judge

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